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                 Exhibit 4
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                                                                           Page 1
 1                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
 2
 3   IN RE:                                    )
                                               )   CA No. 01-12257-PBS
 4   PHARMACEUTICAL INDUSTRY AVERAGE           )
     WHOLESALE PRICE LITIGATION                )   Pages 1 - 17
 5                                             )
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 7
 8
                              STATUS CONFERENCE
 9
                   BEFORE THE HONORABLE PATTI B. SARIS
10                    UNITED STATES DISTRICT JUDGE
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14
                                      United States District Court
15                                    1 Courthouse Way, Courtroom 19
                                      Boston, Massachusetts
16                                    March 31, 2010, 2:05 p.m.
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21
22                            LEE A. MARZILLI
                          OFFICIAL COURT REPORTER
23                     United States District Court
                        1 Courthouse Way, Room 7200
24                           Boston, MA 02210
                               (617)345-6787
25
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                                                                   Page 6                                                                 Page 8
1           THE COURT: In a way that's the good news for you, but           1          MS. CONNOLLY: Well, there are a couple of things that
2    in a way it's not.                                                     2    we would like for you to do. We would like to have additional
3           MS. SHOFNER: It's not, your Honor. We would want                3    time, obviously, to try to find a class representative; but we
4    this motion, if it was going to be granted, to be granted with         4    also believe that the dismissal can't happen without a court
5    prejudice. He's currently seeking --                                   5    order, and that we have some serious concerns that this
6           THE COURT: No, I'll never do that with a Medicare               6    dismissal was done as part of Mr. Haviland's vendetta to class
7    class. I'm not going to do it with prejudice.                          7    counsel. It is very oddly coincidental that both of the J&J
8           MS. SHOFNER: Or at least on condition that he not               8    plaintiffs suddenly decided that they didn't want to
9    file a state court action competing with this?                         9    participate in the case three days before we were going to have
10          MS. CONNOLLY: That's our concern, your Honor, is that           10   oral argument on the post-remand motions for summary judgment.
11   we have reached out to him about the fact that the voluntary           11   Our attempts to get a rational explanation from Mr. Haviland
12   dismissal was without prejudice, and asked him to represent            12   about why this was occurring have just not happened, and we
13   that he was not going to be filing in another jurisdiction, and        13   believe that he should have to account to this Court why his
14   he has refused to make that representation. So there is the            14   plaintiffs are seeking to withdraw, and that there should be a
15   concern that --                                                        15   hearing under Rule 23(e), and he should have to come forth and
16          THE COURT: But I can't do it with prejudice. I've               16   represent to this Court that this is in fact what these
17   got a whole class implicated. To the whole class? Maybe I              17   plaintiffs want to do.
18   could make it with prejudice as to that particular estate.             18         THE COURT: What's 23(e)?
19          MS. CONNOLLY: The notice of voluntary dismissal does            19         MS. CONNOLLY: That's the dismissal, what the
20   say that it is for his client's individual claims. Now,                20   dismissal would have to be under 23(e) for a voluntary
21   granted, there will not be any plaintiffs remaining if the             21   dismissal because we have a 40 -- a certified class.
22   dismissal is granted; but if we were given time to replace the         22         THE COURT: All right, so that's helpful. So you want
23   class representatives, granting his notice of voluntary                23   me to just schedule a 23(e) hearing?
24   dismissal, which we don't think can be done without a hearing,         24         MS. CONNOLLY: Yes. And we believe that Mr. Haviland
25   but doing that would not effectively dismiss the class claims.         25   should be required to appear, which he has indicated that he


                                                                   Page 7                                                                         Page 9
1    It would only dismiss his client's individual claims.                  1    doesn't want to do.
2           THE COURT: Well, let me ask you this: Do you have               2          THE COURT: I understand why he doesn't want to. I
3    any -- you've had trouble with this over the years. I've               3    mean, he's been disqualified here. So if he doesn't appear,
4    always allowed you to replace because this is, I've always             4    then what? I'm just trying to play this out. I've made it
5    said, an aging and dying class.                                        5    pretty clear, I think -- I haven't even read your material --
6           MS. CONNOLLY: That's right.                                     6    what I'm likely to do on the 93A claim, unless I change my
7           THE COURT: That having been said, you've got to find            7    mind, because I haven't looked at it in years. But there is
8    someone.                                                               8    the issue of the national class that's triable to a jury. I
9           MS. CONNOLLY: Yes.                                              9    thought that was a fair point that was never really teed up
10          THE COURT: And it's always been a problem for you.              10   before; what do I do with that? And I hate to have the
11   It takes a long time.                                                  11   potential for different suits and different statutes argued.
12          MS. CONNOLLY: Yes, it does take a long time, and                12         MS. SHOFNER: Your Honor, we do have precedent for the
13   these in particular are very difficult clients to find.                13   idea of barring Mr. Haviland from bringing these as state law
14          THE COURT: My guess is --                                       14   claims, In Re: Phillips Petroleum.
15          MS. CONNOLLY: That we previously turned over heaven             15         THE COURT: But I wouldn't be inclined to do that, in
16   and earth to look for them?                                            16   the sense of if there's a viable claim somewhere. Here's the
17          THE COURT: To find people. So I'm trying to figure              17   thing: I don't remember it well. The issues with respect to
18   out what to do here.                                                   18   Johnson & Johnson came up in a blur at the end. And I do
19          Have you filed anything? You haven't filed anything.            19   remember my strong feelings about 93A, but I also remember that
20          MS. SHOFNER: We filed the motion for summary judgment 20             I didn't focus on -- maybe you didn't focus me on it, or maybe
21   which was originally -- yes, no, no, no.                               21   I just didn't focus on it -- the rest of the country. And
22          THE COURT: On this issue.                                       22   that's the piece that I think the First Circuit was confused on
23          MS. SHOFNER: No, we haven't.                                    23   because I hadn't actually addressed it explicitly, and it came
24          THE COURT: So should I dismiss this case without                24   back to me. And I've got to do that. And now let's assume
25   prejudice to the class?                                                25   there's no real plaintiff. I can't do it, but that doesn't


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